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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        No. 2:09-cr-00325-KJM
12                     Plaintiff,
13          v.                                        ORDER
14   DONALD TAYLOR,
15                     Defendant.
16

17                  Defendant Donald Taylor has requested that the court recommend to the federal

18   Bureau of Prisons (BOP) his release to a residential reentry center (RRC) twelve months in

19   advance of the end of his sentence of incarceration, instead of the release six months in advance

20   he currently anticipates. The court heard argument on the request on December 18, 2013. Tim

21   Zindel, Assistant Federal Defender, appeared for Mr. Taylor who was not present due to his

22   incarceration. Matt Segal, Assistant U.S. Attorney, appeared for the government. At hearing,

23   defense counsel clarified that Mr. Taylor seeks a letter from the court, rather than an amended

24   judgment and commitment. He also clarified that Mr. Taylor has made the same request

25   internally to the BOP, and been denied. Mr. Taylor’s projected release date is February 27, 2015.

26                  As a threshold matter, the court is not persuaded by the government’s argument

27   that the court lacks jurisdiction to make the requested recommendation as to Mr. Taylor’s pre-

28   release placement. A district court’s recommendation to the BOP on an inmate’s housing
                                                     1
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 1   designation is not part of that inmate’s sentence. United States v. Ceballos, 671 F.3d 852, 855
 2   (9th Cir. 2011), cert. denied, __ U.S. __, 132 S. Ct. 2705 (2012). Therefore, the court need not
 3   satisfy Federal Rules of Criminal Procedure 34 and 35, nor pay heed to these Rules’ jurisdictional
 4   deadlines, in considering defendant’s request. Id.
 5                     If the court makes a recommendation on an inmate’s pre-release placement, BOP
 6   is authorized to consider it. 18 U.S.C. § 3621(b)(4)(B). Under the Second Chance Act of 2007,
 7   BOP may designate an inmate to an RRC, a form of community confinement, for up to twelve of
 8   an inmate’s final months as a condition of “pre-release custody and programming.” 28 C.F.R.
 9   § 570.21; English v. Ives, No. 2:11-CV-0010 EFB P, 2012 WL 4038495, at *3 (E.D. Cal. Sept.
10   12, 2012). In response to the 2007 Act, BOP issued a memorandum to prison CEOs directing that
11   each inmate must be “individually considered for pre-release RRC placement” using the criteria
12   contained in 18 U.S.C. § 3621(b). See Thang Quoc Vo v. Rios, No. 1:12-CV-00722-JLT, 2012
13   WL 3288206, at *2 (E.D. Cal. Aug. 10, 2012).1 The memorandum provided that BOP must
14   review inmates for pre-release placement seventeen to nineteen months before their projected
15   release date. Id. Assuming without deciding that the memorandum is consistent with current
16   BOP policy, Mr. Taylor is within this time frame for pre-release placement review.
17                     At the same time, the government is correct that the court typically makes any
18   recommendations it has regarding placement at the time of sentencing, with the defendant and
19   counsel before it, and with the benefit of information contained in a presentence investigation
20   report and any briefing and evidence provided by the parties. Here, the court has no reason to
21   doubt defense counsel’s representations regarding Mr. Taylor’s need to develop a new residential
22   living plan in light of BOP’s disapproval of his original proposal, or Mr. Taylor’s job readiness
23   and desire to begin work as soon as possible to facilitate paying for an acceptable residence and
24   other expenses. That said, the court has not been provided the reasons for BOP’s reported denial
25   of defendant’s administrative request for earlier release to an RRC. And the court declines to
26   seek that information before resolving Mr. Taylor’s request here, ere venturing down the road
27   1
      While Thang Quoc Vo discusses BOP’s rescission of 28 C.F.R. §§ 570.20 and 570.21 following passage of the
     Second Chance Act, the discussion refers to those regulatory provisions as they existed at the time. The provisions
28   have since been amended to conform to the Act.
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 1   toward micromanagement of an essentially executive function. Mr. Taylor’s request does remind
 2   the court of the deplorable absence of an RRC within reach of the Sacramento courthouse,
 3   meaning that whenever Mr. Taylor is released to an RRC he will not have the benefit of
 4   confinement in the community to which he ultimately will be released. But that absence is not
 5   properly considered or addressed in this forum in light of the nature of the pending request, if at
 6   all.
 7                   For the foregoing reasons, Mr. Taylor’s request is denied.
 8   Dated: December 24, 2013.
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11                                                   UNITED STATES DISTRICT JUDGE

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